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				IN RE AMENDMENT OF RULE 5 GOVERNING DISCIPLINARY PROCEEDINGS OF STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2024 OK 58Decided: 07/26/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 58, __ P.3d __

				

IN RE: Amendment of Rule 5 of the Rules Governing Disciplinary Proceedings of the State Board of Examiners of Certified Shorthand Reporters



ORDER



¶1 Rule 5 of the Oklahoma Rules Governing Disciplinary Proceedings of the State Board of Examiners of Certified Shorthand Reporters, Okla. Stat. tit. 20, ch. 20, app. 2, is hereby amended as shown on the attached Exhibit "A." The remainder of Rule 5 is unaffected by the Amendment. The Amended Rule will be effective immediately upon the date of issuance of the Order.

¶2 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 26th day of July, 2024.


/S/CHIEF JUSTICE



CONCUR: Kane, C.J., Kauger, J., Winchester, J., Edmondson, J., Combs, J., Gurich, J., Darby, J., Kuehn, J.

NOT VOTING: Rowe, V.C.J.



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EXHIBIT A

Oklahoma Rules Governing Disciplinary Proceedings of the State Board of Examiners of Certified Shorthand Reporters

Proposed Amendments

Rule 5 -- Complaints

Rule 5. Complaints

The procedure for filing a complaint against a court reporter and the investigation of such complaint shall be as follows:

a) The Board shall furnish forms for a request for investigation to each person who alleges misconduct of a court reporter. Each complaint shall be in writing, although not necessarily in the prescribed form, and signed by the complainant. A complaint may be filed by any person, including another court reporter, who has knowledge or information of misconduct of a court reporter. The Board may initiate a complaint upon its own motion.

b) A complaint shall be filed with the Secretary of the Board, who shall transmit copies to all members of the Board. The Board shall conduct preliminary investigation to determine whether there are facts sufficient to warrant formal disciplinary proceedings. The preliminary investigation conducted by the Board pursuant to this Rule shall not be considered a formal disciplinary proceeding, and the Board may make such inquiries as it deems appropriate to evaluate the matter.

1) The Board may solicit additional information from the complainant.
2) The Board may interview potential witnesses.
3) The Board shall inform the court reporter involved of the nature of the complaint and afford the court reporter an opportunity to respond thereto in writing.

c) After its preliminary investigation, should the Board determine that formal disciplinary proceedings are not warranted, the complainant and the court reporter involved shall be promptly notified in writing of such determination by the Secretary of the Board.

1) Such determination may be appealed by the complainant by filing a Petition for Review with the Clerk of the Supreme Court not more than thirty (30) days from the date of the Board's written notice.

2) Within forty-five (45) days from the date the Petition for Review is filed, the Board shall file with the Clerk of the Supreme Court the record related to its preliminary investigation and determination that formal disciplinary proceedings were not warranted, which shall consist of the following:

i) The complaint or request for investigation,
ii) The written response, if any, from the court reporter involved,
iii) The Board's written notice to the complainant that no formal disciplinary proceedings are warranted, and
iv) Any additional documents considered by the Board during its preliminary investigation.

3) Unless ordered by the Supreme Court, a designation of record for appeal will not be required from the Board. An extension of time for preparation of the record may be granted by order of the Supreme Court, for good cause shown. The Board shall promptly notify the complainant of the completion and transmittal of the record.

4) Such petition shall be processed by the Court as in other appeals from recommendations of the Board as hereinafter provided.

d) Should the Board determine that formal disciplinary proceedings are warranted, the Secretary of the Board shall prepare a formal complaint, as set forth in Rule 6.

e) The Board is not authorized to investigate or make factual determinations about the accuracy of an official transcript, nor can the Board direct an official reporter to release an audio recording or other work product to a complainant. Complaints regarding errors or omissions in an official transcript, including any requests to review a court reporter's audio recordings, must be raised before the court that is considering the underlying case. See Oklahoma Supreme Court Rules, Title 12, App. 1, Rule 1.32, Paragraph A, and Rules of the Oklahoma Court of Criminal Appeals, Title 22, Chap 18, App., Rule 2.2, Paragraph D.

1) Upon receipt of a complaint regarding accuracy of an official transcript, the Board shall send a written notice to the complainant and to the court reporter involved that the Board is without jurisdiction to consider the complaint and is not authorized to conduct further investigation. No appeal may be filed regarding this response by the Board.

2) However, the Board is authorized to conduct a preliminary investigation pursuant to this Rule if one or more courts has determined that a court reporter has committed significant transcript errors or omissions. In such situations, the Board may conduct preliminary investigation to determine whether there are facts sufficient to warrant formal disciplinary proceedings for gross incompetence, gross or habitual neglect of duty, or other misconduct which is within the jurisdiction of the Board.

f) 1) In the event of the disqualification of three or more members of the Board from investigating and/or hearing the complaint, the Chief Justice of the Supreme Court shall designate temporary member(s) to serve as alternative Board member(s) to meet quorum requirements regarding the handling of that complaint for which the other Board members are disqualified. The temporary Board member(s) will assume the investigation into the complaint and engage in any disciplinary hearing actions prescribed in Rule 7 of Title 20 O.S. Chapter 20, Appendix 2. 

2) The temporary Board members shall be persons who have been, for at least five (5) years prior to their temporary appointment to the Board, residents of this state and certified shorthand reporters. Such alternates shall be paid traveling expenses incurred in the performance of their duties as provided in the State Travel Reimbursement Act. Their temporary appointments to the Board will expire upon resolution of the complaint for which other Board members are disqualified.

fg) The Board shall obtain legal assistance from the Office of the Attorney General in investigating and processing complaints and conducting formal disciplinary proceedings, reinstatements after formal disciplinary proceedings, and any related appeals authorized by these Rules. The Office of the Attorney General is authorized to provide counsel and legal representation to the Board as is necessary for such matters.





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